Case 8:21-cv-02814-SDM-AEP Document 11 Filed 01/18/22 Page 1 of 1 PageID 35


                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


   HOWARD COHAN,

         Plaintiff,

   v.                                              CASE NO. 8:21-cv-2814-SDM-AEP

   HHC TRS TAMPA, LLC,

         Defendant.
   ___________________________________/


                                          ORDER

         The plaintiff announces (Doc. 10) a settlement. Under Local Rule 3.09(b),

   this action is DISMISSED subject to the right of any party within sixty days (1) to

   submit a stipulated form of final order or judgment or (2) to move to vacate the

   dismissal for good cause. The clerk is directed to close the case.

         ORDERED in Tampa, Florida, on January 18, 2022.
